        Case 1:24-cv-05013-KAM-TAM Document 6 Filed 07/19/24 Page 1 of 2 PageID #: 25

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                    GEMANE NETTLES                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 24-cv-05013-KAM-TAM
                                                                     )
  MAQBOL LLC, LA ABUNDANCIA BAKERY LLC,                              )
 AND LA ABUNDANCIA BAKERY & RESTAURANT                               )
                   INC.                                              )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Maqbol LLC
                                           C/O The Limited Liability Company
                                           2344 National Drive
                                           Brooklyn, New York 11234

              ***SEE ATTACHED RIDER FOR ADDITIONAL DEFENDANTS***

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Maria-Constanza Barducci, Esq. (Bar No. 5070487)
                                           Barducci Law Firm, PLLC
                                           5 West 19 Street, 10th Floor
                                           New York, New York 10011
                                           (212) 433-2554

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               Brenna Mahoney
                                                                               CLERK OF COURT

            7/19/2024                                                          s/Kimberly Davis
Date:
                                                                                          Signature of Clerk or Deputy Clerk
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RIDER                                    1:24-cv-05013-KAM-TAM



Maqbol LLC
C/O The Limited Liability Company
2344 National Drive,
Brooklyn, New York 11234



La Abundancia Bakery LLC
C/O Britati Realty Inc.
87-10 97th Street,
Woodhaven, New York 11421

La Abundancia Bakery & Restaurant Inc.
C/O The Corporation
63-10 Broadway,
Woodside, New York 11377
